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     Federal Defender
 2   BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700

 5   Attorney for Defendant
     SANTOS BARRAJAS
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,    )
12                                )      Cr.S. 09-408-LKK
                  Plaintiff,      )
13                                )      STIPULATION AND ORDER
             v.                   )
14                                )      DATE:     June 29, 2010
     VALENCIA-MENDOZA, et al.,    )      TIME:     9:15 a.m.
15                                )      JUDGE:    Hon. Lawrence K. Karlton
                  Defendants.     )
16                                )
     ____________________________ )
17
18      It is hereby stipulated and agreed to between the United States of
19   America through DANIEL McCONKIE, Assistant U.S. Attorney, and
20   defendant, SANTOS BARRAJAS by and through his counsel, BENJAMIN
21   GALLOWAY, Assistant Federal Defender, that the status conference set
22   for Tuesday, May 25, 2010, be continued to Tuesday, June 29, 2010, at
23   9:15 a.m., for status conference and possible change of plea.
24      The reason for this continuance is to allow defense counsel
25   additional time to review discovery with the defendants, to examine
26   possible defenses and to continue investigating the facts of the case.
27      It is further stipulated that the time period from the date of this
28   stipulation, May 24, 2010, through and including the date of the new
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 1   status conference hearing, June 29, 2010, shall be excluded from
 2   computation of time within which the trial of this matter must be
 3   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161
 4   (h)(7)(B)(iv)and Local Code T4 [reasonable time for defense counsel to
 5   prepare].
 6
 7   DATED: May 24, 2010            Respectfully submitted,
 8                                  DANIEL J. BRODERICK
                                    Federal Defender
 9
                                    /s/ Benjamin Galloway
10                                  BENJAMIN GALLOWAY
                                    Assistant Federal Defender
11                                  Attorney for Defendant
                                    SANTOS BARRAJAS
12
13   DATED: May 24, 2010            BENJAMIN GALLOWAY
                                    United States Attorney
14
                                    /s/ Benjamin Galloway for
15                                  DANIEL McCONKIE
                                    Assistant U.S. Attorney
16                                  Attorney for Plaintiff
17
18
                                    O R D E R
19
        Based on the stipulation of the parties and good cause appearing
20
     therefrom, the Court hereby adopts the stipulation of the parties in
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     its entirety as its order.     It is hereby ordered that the presently set
22
     May 25, 2010, status conference shall be continued to June 29, 2010, at
23
     9:15 a.m..   It is further ordered that the time period from the date of
24
     the parties' stipulation, May 24, 2010, through and including the date
25
     of the new status conference hearing, June 29, 2010, shall be excluded
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     from computation of time within which the trial of this matter must be
27
     commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161
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     (h)(7)(B)(iv) and Local Code T4 [reasonable time for defense counsel to

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 1   prepare].
 2      Based on the stipulation of the parties and good cause appearing
 3   therefrom, the Court hereby finds that the failure to grant a
 4   continuance in this case would deny defense counsel reasonable time for
 5   effective preparation taking into account the exercise of due
 6   diligence.   The Court specifically finds that the ends of justice
 7   served by the granting of such continuance outweigh the interests of
 8   the public and the defendants in a speedy trial.
 9      IT IS SO ORDERED.
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     DATED: May 25, 2010
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